      Case 3:22-cr-00037-TKW          Document 127       Filed 02/13/23     Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                      Case No. 3:22-cr-37/TKW

KHIRY ANFIELD
_____________________________/

                       ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, KHIRY ANFIELD, to Counts One1 through Ten of the indictment is

hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

       DONE and ORDERED this 13th day of February, 2023.




                                            __________________________________
                                            T. KENT WETHERELL, II
                                            UNITED STATES DISTRICT JUDGE




       1
         The Report and Recommendation (Doc. 126) states that Defendant pled guilty to Counts
Two through Ten, but the plea agreement (Doc. 124) and the minutes of the change of plea hearing
(Doc. 121) reflect that Defendant pled guilty to Counts One through Ten.
